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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

SEELIGSON et al                                    §
           Plaintiffs,                             §
                                                   §
v.                                                 §      CASE NO. 3:16-cv-00082-K
                                                   §
DEVON ENERGY PRODUCTION                            §
COMPANY LP                                         §
         Defendant.                                §

                                   REPORT OF MEDIATION

         The above-captioned case was mediated via Zoom video conference by David Folsom on

Wednesday, October 7, 2020, between Henry Seeligson, John M. Seeligson, Suzanne Seeligson

Nash, and Sherri Pilcher and the Certified Class (collectively “Plaintiffs”), and Defendant Devon

Energy Production Company, L.P. (“Defendant” or “DEPCO”).

         After additional follow up between the parties, counsel, and the undersigned mediator, the

mediation was successful.

         Signed this 16th day of October 2020.

                                                       /s/ David Folsom
                                                       David Folsom
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                                 CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was filed electronically in
compliance with Local Rules on this 16th day of October 2020. As such, this document was
served on all counsel who are deemed to have consented to electronic service.

                                                       /s/ David Folsom
                                                       David Folsom
